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19                              UNITED STATES DISTRICT COURT
20                                DISTRICT OF NEVADA

21 RICHARD GIBSON, and HERIBERTO              Case No. 2:23-cv-00140
   VALIENTE,
22              Plaintiffs,                      PLAINTIFFS' CERTIFICATE OF
23        v.                                     INTERESTED PARTIES
     MGM RESORTS INTERNATIONAL,
24   CENDYN GROUP, LLC, THE
     RAINMAKER GROUP UNLIMITED, INC.,
25   CAESARS ENTERTAINMENT INC.,
     TREASURE ISLAND, LLC, WYNN
26   RESORTS HOLDINGS, LLC,
27                Defendants.

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     Case 2:23-cv-00140-MMD-DJA Document 2 Filed 01/25/23 Page 2 of 2




 1         The undersigned, attorney of record for Plaintiffs and the putative class, certifies that there

 2 are no known interested parties other than those participating in the case and the putative class

 3 members.

 4 Dated: January 25, 2023                       Respectfully submitted,

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                                                 By: /s/ Adam Ellis
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